12-12020-mg     Doc 3698-3       Filed 05/13/13 Entered 05/13/13 17:08:13   Title Page
                                  of Volume 1 Pg 1 of 1




                      UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

In re:                                      :   Chapter 11

RESIDENTIAL CAPITAL, LLC, et. al.           :   Case Number 12-12020 (MG)
                                                (Jointly Administered)
                             Debtors.       :

               REPORT OF ARTHUR J. GONZALEZ, AS EXAMINER

                                        VOLUME 1

                                    Sections I through V

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